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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK



IN RE GLOBAL BROKERAGE, INC. f/k/a              Master File No. 1:17-cv-00916-RA-BCM
FXCM INC. SECURITIES LITIGATION
                                                CLASS ACTION

This Document Relates To: All Actions



  [PROPOSED] ORDER GRANTING MOTION FOR CLASS CERTIFICATION AND
     APPOINTMENT OF CLASS REPRESENTATIVES AND CLASS COUNSEL

      Having considered the Motion for Class Certification and Appointment of Class

Representatives and Class Counsel (the “Motion”), and good cause appearing therefore, the

Court ORDERS as follows:

      1.     The Motion is GRANTED;

      2.     The action is hereby certified to proceed as a class action pursuant to Rules 23(a)

             and (b)(3) of the Federal Rules of Civil Procedure for the following Class:
             All persons and/or entities that purchased or otherwise acquired
             publicly traded Global Brokerage, Inc., f/k/a FXCM Inc. (“FXCM”)
             securities, including FXCM 2.25% Convertible Senior Notes due
             2018 and Class A common stock, during the period March 15,
             2012 through February 6, 2017, both dates inclusive.
             Excluded from the Class are: (i) Defendants; (ii) current and
             former officers, employees, consultants and directors of FXCM
             and FXCM Holdings, LLC; (iii) siblings, parents, children, spouses,
             and household members of any person excluded under (i) and (ii);
             (iv) any entities affiliated with, controlled by, or more than 5%
             owned by, any person excluded under (i) through (iii); and (v) the
             legal representatives, heirs, successors or assigns of any person
             excluded under (i) through (iv).

      3.     683 Capital Partners, LP, Shipco Transport Inc., and Sergey Regukh are hereby

             appointed Class Representatives; and
      4.     The Rosen Law Firm, P.A. is hereby appointed as Class Counsel.
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IT IS SO ORDERED.


Dated: ______________________             __________________________________
                                          HONORABLE RONNIE ABRAMS
                                          UNITED STATES DISTRICT JUDGE




                                [PROPOSED] ORDER
                                        2
